                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF OHIO


IN RE:                                        )
                                             )               CASE NUMBER: 15-16458
Reginald Hudson                              )               JUDGE ARTHUR I. HARRIS
                                             )
               DEBTOR                        )               NOTICE OF CONVERSION
                                             )               CHAPTER 13 TO 7



         Now comes Debtor Reginald Hudson, by and through his attorney, Anna Marie Wall, to

provide this court with notice of his intention to convert this case from a Chapter 13 to 7. Debtor

requests this conversion because he cannot afford the chapter 13 plan payments. Debtor

acknowledges that a new petition and any other document(s) required by law, rules of this court,

must be filed within 14 days of the entry of order converting his case.



                                                     Respectfully submitted,


                                                      /s/ Anna Marie Wall
                                                     Anna Marie Wall (0095884)
                                                     Attorney for Debtor
                                                     Rauser & Associates
                                                     614 W. Superior Avenue, Suite 950
                                                     Cleveland, Ohio 44113
                                                     (216)263-6200




 /s/ Reginald Hudson   __
Debtor, Reginald Hudson




15-16458-aih      Doc 74     FILED 03/29/19       ENTERED 03/29/19 18:19:23          Page 1 of 7
                                    CERTIFICATE OF SERVICE

          I certify that on March 29, 2019, a true and correct copy of the notice of conversion was

served:

Via the court’s Electronic Case Filing System on these entities and individuals who are listed on the

court’s Electronic Mail Notice List.

Debtor’s Attorney:
Anna Marie Wall, on behalf of Debtor at awall@ohiolegalclinic.com

Chapter 13 Trustee
Lauren Helbling, on behalf of the Chapter 13 Trustee at chp13trustee@ch13cleve.com

And by regular U.S. mail, postage prepaid on:

Debtor:
Reginald Hudson, 18112 McCracken Road, Maple Heights, OH 44137

Creditors:
Ace Cash Express
24800 Rockside Road
Bedford, OH 44146-1963
Advance America
4767 Northfield Road
Cleveland, OH 44128
Bedford Municipal Court
65 Columbus Rd.
Bedford, OH
Bedford Municipal Court
165 Center Road
Bedford, OH 44146
Buckeye Credit Sioutions
6785 Bobcat Way
Suite 200
Dublin, OH 43016
Buckeye Credit Solutions
6785 Bobcat Way
Suite 200
Dublin, OH 43016
City of Cleveland Division of Water
P.O. Box 94540
Cleveland, OH 44101-4540
Cleveland Center for Digestive Health
3700 Park East DR.
Suite 100
Beachwood, OH 44122
Cleveland Clinic
P.O. Box 89410
Cleveland, OH 44101-6410
Cleveland Clinic Laboratories
PO Box 74222
Cleveland, OH 44194
Cleveland Urology Associates Inc.
P.O. Box 643539



 15-16458-aih        Doc 74     FILED 03/29/19    ENTERED 03/29/19 18:19:23          Page 2 of 7
Cincinnati, OH 45264-3539
Continental Finance Co.
4550 New Linden Hill Rd.
Wilmington, DE 19808
Credit Management
4200 International Parkway
Carrollton, TX 75007
Credit One Bank
P.O. Box 98872
Las Vegas, NV 89193-8872
Credit One of Ohio
1169 Dublin Rd.
Columbus, OH 43215-1005
Credit Union of Ohio
1169 Dublin Rd.
Columbus, OH 43215-1005
Cuyahoga County Fiscal Office
2079 East 9th Street
Cleveland, OH 44115
Cuyahoga County Fiscal Office
2079 East 9th Street
Cleveland, OH 44115
DNF Associates
2351 North Forrest Rd. Suite 110
Getzville, NY 14068
Dominion East Ohio
P.O. Box 26785
Richmond, VA 23261-6785
Drs. Brahms, Cohn & Leb, Inc.
P.O. Box 221200
Beachwood, OH 44122-0995
Everest Land Title Agency
323 West Lakeside Avenue
Suite 350
Cleveland, OH 44113
FCI Lender Services
P.O. Box 27370
Anaheim, CA 92809-0122
First Credit Inc.
PO Box 630838
Cincinnati, OH 45263
First Credit Inc.
PO Box 630838
Cincinnati, OH 45263
First Premier Bank
3820 N Louise Ave
Sioux Falls, SD 57107
First Premier Bank
3820 N Louise Ave
Sioux Falls, SD 57107
Gastroenterology Associates of Cleveland
PO Box 72514
Cleveland, OH 44192
Great Lakes
P.O. Box 530229
Atlanta, GA 30353-0229
Huntington Bank
P.O. Box 1558
Columbus, OH 43216
IRS
PO Box 21125
Philadelphia, PA 19114-0325
IRS




 15-16458-aih      Doc 74      FILED 03/29/19   ENTERED 03/29/19 18:19:23   Page 3 of 7
Insolvency Group 3
1240 E 9th St
Room 493
Cleveland, OH 44199
IRS
Centralized Insolvency Operations
PO Box 21126
Philadelphia, PA 19114
IRS
PO Box 21125
Philadelphia, PA 19114-0325
JP Recovery
P.O. Box 16749
Rocky River, OH 44116-0749
Kamco Financial
25480 Aurora Road
Bedford, OH 44146
Loan Max
4603 Northfield Rd.
North Randall, OH 44128
LVNV Funding LLC
55 Beattie Place #110
Greenville, SC 29601
Michael Kenny
Assistant Prosecuting Atty
310 W. Lakeside Ave., STE 300
Cleveland, OH 44113
Money Key
3422 Old Capital Trail
Suite 1681
Wilmington, DE 19808
National Credit Adjusters
327 West 4th Street
PO Box 3023
Hutchinson, KS 67504
NCP Finance Ohio LLC
205 Sugar Camp Circle Dept CNG
Dayton, OH 45409
NCP Finance Ohio LLC
205 Sugar Camp Circle Dept CNG
Dayton, OH 45409
NCP Finance Ohio LLC
205 Sugar Camp Circle Dept CNG
Dayton, OH 45409
NEORSD
P.O. Box 94550
Cleveland, OH 44101-4550
Ohio Neighborhood Finance DBA Cashland
17 Triangle Park Drive
Cincinnati, OH 43246
Prestige
351 West Opportunity Way
Draper, UT 84020
Progressive Leasing
10619 South Jordan Gateway
Suite 100
South Jordan, UT 84095
QC Financial Services
Quik Cash #1355
4681 Northfield Rd. Suite A
North Randall, OH 44128
Rajesh Agarwal MD, LLC
P.O. Box 635416




 15-16458-aih     Doc 74    FILED 03/29/19   ENTERED 03/29/19 18:19:23   Page 4 of 7
Cincinnati, OH 45263-5416
Rent A Center
4886 Northfield Road
Cleveland, OH 44128-4524
RITA
P.O. Box 94951
Cleveland, OH 44101-4951
Rivers Bend Cash
P.O. Box 557
Hays, MT 59527
South Pointe Hospital
20000 Harvard Ave
Cleveland, OH 44124
State Cash Advance
23061 Emery Road
Cleveland, OH 44128
Sunrise Credit Services
P.O. Box 9100
Farmingdale, NY 11735-9100
Surge
P.O. Box 31292
Tampa, FL 33631
The Build Card
P.O. Box 660269
Dallas, TX 75266
The Illuminating Company
76 S. Main St.
Akron, OH 44308-1890
Transworld Systems
507 Prudential Road
Horsham, PA 19044
University Hospital
20800 Harvard Road
Beachwood, OH 44122-7202
Verve
P.O. Box 31292
Tampa, FL 33631-3292
Woods Cove III, LLC
File 1558 1801 West Olympic Blvd.
Pasadena, CA 91199
WOW! Internet-Cable-Phone
P.O. Box 4350
Carol Stream, IL 60197-4350
Ace Cash Express
24800 Rockside Road
Bedford, OH 44146-1963
Advance America
4767 Northfield Road
Cleveland, OH 44128
Bedford Municipal Court
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Bedford, OH
Bedford Municipal Court
165 Center Road
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 15-16458-aih       Doc 74     FILED 03/29/19   ENTERED 03/29/19 18:19:23   Page 5 of 7
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9500 Euclid Ave
Cleveland, OH 44195
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Credit One of Ohio
1169 Dublin Rd.
Columbus, OH 43215-1005
Credit Union of Ohio
1169 Dublin Rd.
Columbus, OH 43215-1005
Cuyahoga County CSEA
1640 Superior Ave. E.
P.O. Box 93318
Cleveland, OH 44101-5318
Cuyahoga County Fiscal Office
2079 East 9th Street
Cleveland, OH 44115
Dominion East Ohio
P.O. Box 26785
Richmond, VA 23261-6785
Drs. Brahms, Cohn & Leb, Inc.
P.O. Box 221200
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Eagle Loans
6817 Pearl Road
Cleveland, OH 44130
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323 West Lakeside Avenue
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2022 Center Ridge Road Suite 370
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 15-16458-aih      Doc 74      FILED 03/29/19   ENTERED 03/29/19 18:19:23   Page 6 of 7
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Cleveland, OH 44101-4951
Select Portfolio Servicing
P.O. Box 65250
Salt Lake City, UT 84165-0250
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20000 Harvard Ave
Cleveland, OH 44124
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23061 Emery Road
Cleveland, OH 44128
The Illuminating Company
76 S. Main St.
Akron, OH 44308-1890
University Hospital
20800 Harvard Road
Beachwood, OH 44122-7202
Woods Cove III, LLC
File 1558 1801 West Olympic Blvd.
Pasadena, CA 91199


                                          Respectfully Submitted,

                                          /s/ Anna Marie Wall
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                                          Rauser & Associates
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                                          Cleveland, Ohio 44113
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                                          Attorney for Debtor




 15-16458-aih       Doc 74     FILED 03/29/19   ENTERED 03/29/19 18:19:23       Page 7 of 7
